                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI

                                  CRIMINAL CASE COVER SHEET
 Division of Filing                           Place of Offense                 Matter to be Sealed
   Western                  St. Joseph                                               Secret Indictment
   Central                  Southern                 Jackson                         Juvenile
                                                     County and
   Southwestern
                                                     elsewhere
Defendant Information
Defendant Name               Jennifer Gladman-Carnall
Alias Name                   a/k/a “Precious Jen”
Birthdate                    12/19/1981

Related Case Information
Superseding Indictment/Information       Yes       No if yes, original case number
New Defendant                           Yes        No
Prior Complaint Case Number, if any
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA David Raskin

Interpreter Needed
   Yes       Language and/or dialect
  No

Location Status
Arrest Date
  Currently in Federal Custody
  Currently in State Custody                          Writ Required              Yes        No
  Currently on Bond                                   Warrant Required           Yes        No

U.S.C. Citations
Total # of Counts    4
           Index Key/Code/Offense
  Set                                          Description of Offense Charged              Count(s)
                   Level
                                          Conspiracy to Distribute
   1    21:841A=CD.F/6801/4                                                                      1
                                          Methamphetamine
                                          Conspiracy, Substantive Hobbs Act
   2    18:1951.F/7400/4                                                                        5,6
                                          Robbery
                                          Brandishing a Firearm in Furtherance
   3    19:924C.F/7830/4                                                                         7
                                          of a Crime of Violence



Date   12/15/16                      Signature of AUSA        /s/ David Raskin


          Case 4:16-cr-00374-RK Document 1-1 Filed 12/15/16 Page 1 of 1
